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                                                      #:2744


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           16
                                    IN THE UNITED STATES DISTRICT COURT
           17
                                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
           18
                                               WESTERN DIVISION
           19      ELECTRIC SOLIDUS, INC. d/b/a SWAN
                   BITCOIN, a Delaware corporation,     Case No. 2:24-cv-8280-WLH-E
           20
                                  Plaintiff,                   DECLARATION OF ILISSA
           21
                         v.                                    SAMPLIN IN SUPPORT OF
           22                                                  PLAINTIFF’S RENEWED EX PARTE
                   PROTON MANAGEMENT LTD., a                   APPLICATION FOR EXPEDITED
           23      British Virgin Islands corporation;
                   THOMAS PATRICK FURLONG; ILIOS               DISCOVERY ORDER
           24      CORP., a California corporation;
                   MICHAEL ALEXANDER HOLMES;                   Judge: Hon. Wesley L. Hsu
           25      RAFAEL DIAS MONTELEONE;                     Action Filed: September 25, 2024
                   SANTHIRAN NAIDOO; ENRIQUE
           26      ROMUALDEZ; and LUCAS
                   VASCONCELOS,
           27
                                  Defendants.
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Gibson, Dunn &
 Crutcher LLP
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                 1     I, ILISSA SAMPLIN, declare and state as follows:
                 2                1. I am an attorney admitted to practice law before this Court and the courts
                 3     of this state. I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, and counsel
                 4     of record for Plaintiff Electric Solidus, Inc. d/b/a Swan Bitcoin (“Swan”) in the above-
                 5     captioned case. I have personal knowledge of all the facts set forth in this declaration
                 6     and, if called to testify, I could and would competently testify to them.
                 7                2. Attached as Exhibit A is a true and correct copy of Plaintiff’s First
                 8     Expedited Set of Interrogatories to Defendants Ilios Corp., Thomas Patrick Furlong,
                 9     Michael Alexander Holmes, Rafael Dias Monteleone, Santhiran Naidoo, Enrique
            10         Romualdez, and Lucas Vasconcelos (“Individual Defendants”). My partner Christine
            11         Demana sent these First Expedited Set of Interrogatories to counsel for the Individual
            12         Defendants via email in the same form attached hereto (not including minor
            13         typographical corrections and reordering) on October 8, 2024.
            14                    3. Attached as Exhibit B is a true and correct copy of Plaintiff’s First
            15         Expedited Requests for the Production of Documents to Individual Defendants. My
            16         partner Ms. Demana sent these First Expedited Requests to counsel for the Individual
            17         Defendants via email in the same form attached hereto (not including minor
            18         typographical corrections) on October 8, 2024.
            19                    4. Attached as Exhibit C is a true and correct copy of Plaintiff’s First
            20         Expedited Set of Interrogatories to Defendant Proton Management Ltd. (“Proton”). My
            21         partner Ms. Demana sent these First Expedited Set of Interrogatories to counsel for
            22         Proton via email in the same form attached hereto (not including minor typographical
            23         corrections and reordering) on October 8, 2024.
            24                    5. Attached as Exhibit D is a true and correct copy of Plaintiff’s First
            25         Expedited Requests for the Production of Documents to Defendant Proton. My partner
            26         Ms. Demana sent these First Expedited Requests to counsel for Proton via email in the
            27         same form attached hereto (not including minor typographical corrections) on October
            28         8, 2024.
Gibson, Dunn &
 Crutcher LLP
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                                  DECLARATION OF ILISSA SAMPLIN IN SUPPORT OF PLAINTIFF’S RENEWED
                                       EX PARTE APPLICATION FOR EXPEDITED DISCOVERY ORDER
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                 1                6. Attached as Exhibit E is a true and correct copy of emails between Swan’s
                 2     counsel and counsel for the Individual Defendants and counsel for Defendant Proton
                 3     concerning the return of Swan’s laptops, the last of which is dated October 9, 2024.
                 4                7. Attached as Exhibit F is a true and correct copy of emails between Swan’s
                 5     counsel and counsel for the Individual Defendants and counsel for Defendant Proton
                 6     concerning Swan’s expedited discovery requests that are the subject of Swan’s Renewed
                 7     Ex Parte Application for Expedited Discovery Order, the last of which is dated October
                 8     9, 2024.
                 9
                             I declare under penalty of perjury that the foregoing is true and correct. Executed
            10
                       on this 9th day of October 2024, in Los Angeles, California.
            11

            12         Dated: October 9, 2024          Respectfully submitted,
            13                                                GIBSON, DUNN & CRUTCHER LLP
            14

            15
                                                              By:    /s/ Ilissa Samplin
                                                                           Ilissa Samplin
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            17                                                Attorneys for Plaintiff
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Gibson, Dunn &
 Crutcher LLP
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                                  DECLARATION OF ILISSA SAMPLIN IN SUPPORT OF PLAINTIFF’S RENEWED
                                       EX PARTE APPLICATION FOR EXPEDITED DISCOVERY ORDER
